Case 1:04-cv-10981-PBS Document 1684 Filed 02/27/09 Page 1 of 2

UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

In re). NEURONTIN MARKETING, SALES PRACTICES,
AND PRODUCTS LIABILITY LITIGATION

HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY COMPANY,
dba BLUECROSS/BLUESHIELD OF LOUISIANA;
INTERNATIONAL UNION OF OPERATING ENGINEERS,
LOCAL NO. 68 WELFARE FUND; ASEA/AFSCME LOCAL
52 HEALTH BENEFITS TRUST; GERALD SMITH; and
LORRAINE KOPA, on behalf of themselves and all others
similarly situated,

Vv.

PFIZER INC, and WARNER-LAMBERT COMPANY.

MDL Docket No. 1629
‘Master File No. 04-10981
x

Judge Patti B. Saris

Magistrate Judge Leo T.
Sorokin

DECLARATION OF CHRISTOPHER J. ROCHE IN SUPPORT OF
DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
EMERGENCY MOTION FOR EXTENSION OF TIME TO DESIGNATE
DOCUMENTS FOR SUMMARY JUDGMENT AND TRIAL

CHRISTOPHER J. ROCHE declares upon perjury in accordance with 28 U.S.C. § 1746

as follows:

1. [am an attorney associated with the law firm Davis Polk & Wardwell, counsel for

Defendants Pfizer Inc. and Warner-Lambert Company in this action.
Case 1:04-cv-10981-PBS Document 1684 Filed 02/27/09 Page 2 of 2

2. I submit this declaration in support of Defendants’ Opposition to Plaintiffs’
Emergency Motion for Extension of Time to Designate Documents for Summary Judgment and
Trial, filed February 26, 2009.

3. Attached hereto as exhibit A is a true and correct copy of excerpts from a
transcript of an August 1, 2005 hearing before the Honorable Leo T. Sorokin, United States
Magistrate Judge.

Dated: New York, New York
February 27, 2009

/s/ Christopher J. Roche
Christopher J. Roche

CERTIFICATE OF SERVICE

[hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on February 27, 2009.

/s/ David B. Chaffin
David B. Chaffin
